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                                                                                                         THOMAS G    . BRUTON URT
                                   UNITED STATES DISTRICT COURT                                                   DISTRICT CO
                                   NORTHERI\ DISTRICT OF ILLINOIS                                     CLERK, U.S.
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                                                                                                        -THOMASGBRUTON
                                                                                                      CLERK, U.S. DISTRICT COURT



(Enter above the full name
of the plaintiffor plaintiffs in
this action)

                            vs.                            Case      No:                    (_       -l t'2.c
                                                           (To be supplied by the Clerk of this                                     Court)




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                                                                                                    3
(Enter above the full       of ALL
defendants in this action. Do not
use "et al.tt)

CHECK ONE ONLY:                                            AMENDED COMPLAINT

                  COMPLAINT UNDER THE CIYIL RIGHTS ACT, TITLE 42 SECTION 1983
                  U.S. Code (state, county, or municipal defendants)

                  COMPLAINT UNDER TIIE CONSTITUTION ("BIyENS" ACTION), TITLE
                 28 sECrIoN 1331 u's' code                    (*o8:*fl$
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  X               OTHER (cite statute,           if known)
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BEFORE FILLING OUT THIS COMPI-AINT, PLEASE REFER TO "INSTRACTIONS FOR
FILING.N FOLLOW THESE INSTRUCTIONS CAREFULLY.
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L     Plaintiff(s):

      A.         Name

      B.         List all aliases

      C.         Prisoner identifi cation number:                        ?ot*c9tf,r
      D.         Place ofpresent confinement:                      C.c-c.L CC;rn{, -Tct, L
                                                                                                                                         ,-)
      E,         Address:                    oC                                                                      L         bL        u


      (lfthere is more than one plaintiff then each plaintiff must list his or her name, aliases, I.D.
      number, place of confinement, and current address according to the above format on a
      separate sheet of paper.)

II.   Defendant(s):
      (In A below, place the full name of the first defendant in the first blank, his or her official
      position in the second blank, and his or her place of employment in the third blank. Space
      for two additional defendants is provided in B and C.)

      A.         Defendant:

                 Title

                 Place of Employment:                                                   t\
      B.         Defendant:                                                                    r:ffrl-I h

                 Title     (-r.
                                  ''\a   z   ^   --l.z .n ) - r,    .)                                  (r- Crr
                 Place of Employment:                              tt                             5
                                                                              *'[
      C.         Defendant:              Glv'".,
                                                    ^\
                                                         r^ /) Jr        .'         r-r--l e

                 Title:                                                                   rvrl

                 Place of Employment:

      (If you have more than three defendants, then all additional                                      defendants must be listed
      according to the above format on a separate sheet of paper.)




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11I.   List ALL lawsuits you (and your co-plaintiffs, if any) have filed in any state or federal
       court in the United States:

       A.     Name of case and            number:



       B.     Approxirnate date of filing lbwsuit:      I        Jr"lr4   l fawuflar-
       C.     List allplaintiffs (if you had co-plaintiffs), including any aliases:                           +e



       D.     List all defendants:   Tr   Jn't* lYr q A ,


       E.      Court in which the lawsuit was filed (if federal court, name the district; if state court,
               name the  counqr): T          de*"0              *t' ;
                                                                   I

       F.      Name ofjudge to whom case was        assigned: f f r't fglel*vuLa'f

                                                            n
       G.      Basic claim made




       H.      Disposition of this case (for example: Was the case dismissed? Was it appealed?
               Is it still pending?):




        I.     Approximatedateof ,Jisposition:       t&tl+                /eN'<f '

IF YOU HAYE FILED MORE THAN ONE LAWSUIT, TIIEN YOU MUST DESCRIBE THE
ADDITIONAL LAWSUITS ON AI\OTHER PIECE OF PAPER, USING THIS SAME
FORyTA*T. REGARDLESS OF HOW MANY CASES YOU HAVE PREVIOUSLY FILED,
YOU WLL NOT BE EXCUSED FROM FILLING OUT THIS SECTION COMPLETELY,
AND FAILURE TO DO SO MAY RESULT IN DISMISSAL OF YOUR CASE. CO.
PLAINTIFFS MUST ALSO LIST ALL CASES THEY HAYE FILED.




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IV.     Statement of Claim:

        State here as              briefly as possible the facts of your case. Describe how each defendant is
        involved, including names, dates, and places. Do not give any legal arguments or cite any
        cases or statutes. If you intend to allege a number of related claims, number and set forth
        each claim in a separate paragraph. (Use as much space as you need. Attach extra sheets
        if   necessary.)

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V.    Relieft

      State briefly exactly what you want the court to do for you. Make no legal arguments. Cite
      no cases or statutes.

                                                                  2




V[.   The plaintiff demands that the case be tried by                 a   jury.     d"r, tr No
                                                                      CERTIFICATION

                                    By signing this Complaint, I certiff that the facts stated in this
                                    Complaint are true to the best of my knowledge, information and
                                    belief. I understand that if this certification is not correct, I may be
                                    subject to sanctions by the Court.

                                    Signed this         J J..      day     of       \A           201




                                                   of plaintiff or plaintiffs)


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